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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,               :

              Plaintiff,                :      CASE NO. 1:21-cr-00161

       vs.                              :      JUDGE WALTON

DUSTIN BYRON THOMPSON,                  :

              Defendant.                :

                    RESPONSE TO ORDER TO SHOW CAUSE

       Samuel H. Shamansky submits the following response to the Court’s June 22,

2021 Order to show cause. Doc 28.

                                               Respectfully submitted,

                                               /s/ Samuel H. Shamansky
                                               SAMUEL H. SHAMANSKY
                                               Ohio Supreme Court No. 0030772
                                               523 South Third Street
                                               Columbus, Ohio 43215
                                               (614) 242-3939 – Office
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                                               Counsel for Defendant
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                                        RESPONSE

       On April 22, 2021, the Court scheduled a status hearing for June 22, 2021, at

11:00 a.m. Counsel for Defendant is currently engaged in trial before The Honorable

Chris Brown, Franklin County Court of Common Pleas, in the matter of State of Ohio v.

James Tappan, Case No. 19 CR 5014. On Tuesday, June 23, 2021, trial was to have

resumed at 9:00 a.m. I anticipated that the testimony of the State’s two witnesses would

be short and completed well in advance of the 11:00 a.m. status hearing. Unfortunately,

four jurors were late, delaying the start of trial by 30 minutes. As a result, I was unable to

join the status conference until approximately 11:14 a.m. at which time it had already

been concluded. I recognize both that jury trials can be unpredictable and that it was my

responsibility to ensure I was available for the status hearing.          Thus, I take full

responsibility and apologize for the inconvenience caused to the Court, the government,

and to my client. Although not an excuse, my tardiness was not deliberate.

                                                      Respectfully submitted,

                                                      /s/ Samuel H. Shamansky
                                                      SAMUEL H. SHAMANSKY
                                                      Ohio Supreme Court No. 0030772
                                                      523 South Third Street
                                                      Columbus, Ohio 43215
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                                                      Counsel for Defendant

                             CERTIFICATE OF SERVICE
       The undersigned hereby certifies that a true copy of the foregoing Response to

Order to Show Cause was filed with the Clerk of Court for the United States District

Court for the District of Columbia using the CM/ECF system, which will send
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notification of such filing to William Kennelly Dreher, 700 Stewart Street, Suite 5220,

Seattle, Washington, 98101 on June 23, 2021.


                                                  /s/ Samuel H. Shamansky
                                                  SAMUEL H. SHAMANSKY
